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100 EAST FIFTH STREET, ROOM 532
LEONARD GREEN FOTTER STEWART U.S. COURTHOUSE PATRlC|A J. ELDER

CLERK C|NC|NNAT|, OH|O 45202-3988 (513) 564-7034
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Filed: May 16, 2005

Johnny O. Clark

Special Needs Facility
#220554

7575 Cockrill Bend Road
Nashville, TN 37209-1057

RE: 04-6373
Clark vS. Waller //
District Court No. 03-02951

Dear Mr. Clark:
Enclosed is a copy of an order which was entered today in the above-
Styled case.

Very truly yours,
Leonard Green,\Clerk

Senior Case Manager

Enclosure

cc: Honorable J. Daniel Breen
Mr. Robert R. Di Trolio

/O

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No. 04-6373

UNITED STATES COURT OF APPEALS

FOR THE SIXTH CIRCUIT
JoHNNY 0. cLARK, § F l [ E ll
Petitioner-Appellant, § MAY 1 6 2005
v - l _Q li D E_ § 7
) lEONARD GREEN, Clerk`_
ROBERT WALLER, Warden, )
)
Respondent-Appellee. )
)

 

Before: MARTIN, Circuit Judge.

Johnny O. Clark, a Tennessee prisoner proceeding pro se, appeals a district court judgment
dismissing his petition for a writ of habeas corpus filed under 28 U.S.C. § 2254. He applies for a
certificate of appealability (“COA”), see 28 U.S.C. § 2253(c)(1) and Fed. R. App. P. 22(b)(l)-(2),
and requests leave to proceed in forma pauperis (“IFP”).

Clark was convicted by a jury of first-degree murder and was sentenced to life in prison.
After exhausting his state direct-appeal and post-conviction remedies, he filed a federal habeas
corpus petition, which the district court dismissed The court also denied a COA and denied him
IFP status because an appeal would not be taken in good faith.

Clark raised three grounds for relief in the district court: l) ineffective assistance of trial
counsel, 2) insufficiency of the evidence, and 3) ineffective assistance of post-conviction counsel.
The court denied all three on the merits.

A COA shall issue “if the applicant has made a substantial showing of the denial of a
constitutional right.” 28 U.S.C. § 2253(c)(2). lf the district court dismissed the habeas petition on
the merits, he must show that “reasonable jurists could debate Whether” it “should have been
resolved in a different manner or that the issues presented were adequate to deserve encouragement

to proceed further.” Slack v. McDaniel, 529 U.S. 473, 483-84 (2000) (internal quotations omitted).

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NO. 04-6373
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Clark meets this standard Accordingly, the application for a certificate of appealability is

granted on all of his issues Leave to proceed in forma pauperis is also granted The clerk’s office

shall issue a briefing schedule This court also sua sponte orders that counsel be appointed to

represent Clark.

ENTERED BY ORDER OF THE COURT

 

i"iSTRcT OURT - WESTRNE iSRicT oF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number lO in
case 2:03-CV-02951 was distributed by faX, mail, or direct printing on
May 23, 2005 to the parties listed.

 

 

Johniiy O. Clark

2205 54

7575 Cockrill Bend Blvd.
Nashville, TN 37209--105

Honorable J. Breen
US DISTRICT COURT

